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                     IN THE UNITED STATES DISTRICT COURT FOR
                      THE EASTERN DISTRICT OF PENNSYLVANIA


PATRICIA MCNULTY,                                   :              CIVIL ACTION
               Plaintiff                            :
                                                    :
       v.                                           :              NO. 19-5029
                                                    :
THE MIDDLE EAST FORUM, et al                        :
                Defendant                           :

                                            ORDER

       AND NOW, following upon the parties’ submissions (Docs. 48, 52, 53, 54, and 55) in

response to our order of January 29, 2021 (Doc. 47) to summarize the remaining discovery

disputes, it is hereby ORDERED that counsel for the parties shall appear for a discovery

conference on Wednesday, March 17, 2021 at 9:30 A.M. This conference shall concern the

issues related to Defendant The Middle East Forum’s (“Defendant”) motion to compel as set out

in the unrecorded telephone conference of January 28, 2021 and its letter of February 5, 2021.

(Doc. 48.) This hearing will not concern Plaintiff’s motion to compel (Doc. 56), and as such does

not supersede Defendant’s duty to respond to the same. The hearing will be held via video, and

the Court will contact counsel with connection information.



                                                    BY THE COURT:



Date: March 10, 2021                                /s/ David R. Strawbridge, USMJ___
                                                    David R. Strawbridge
                                                    United States Magistrate Judge
